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AUSA Ronald M. Huber                                                                         (434)2934283                           3t27t2019
4. DEI,IVERY ADDRESS OR                 EMAII                                                5.   CITY                              6. STATE           7.ZIP CODE
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8. CASENUMBER                                       9. JUDGE                                                           DATES OF PROCEEDINGS
4:18-cr-00011                                       Judoe Urbanski                           r0. FROM     311112019                 11.   ro   3/1 1t2019
12.   CASENAME                                                                                                       LOCATION OF PROCEEDINGS
 United States v. Jaquan Trent                                                               t3.   cr'ry Roanoke                    14.   STATE ViT tnta
15. ORDER FOR

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16. TRANSCRIPT REQLJESTED (Speciff portion(s)                    md date(s) of pmeding(s) for which kmsoript    is reqwsted)

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